            Case 5:17-cv-00003-J Document 260 Filed 09/06/21 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

CRAIG PC SALES & SERVICE, LLC et al.,             )
                                                  )
       Plaintiffs,                                )
                                                  )      Case No. CIV-17-3-J
v.                                                )
                                                  )
CDW GOVERNMENT, LLC, an                           )
Illinois limited liability company et al.,        )
                                                  )
       Defendants.                                )

               MOTION TO WITHDRAW AS COUNSEL OF RECORD

       COMES NOW Barrett T. Bowers and hereby moves this Court to enter an Order

allowing him to withdraw as counsel of record for Plaintiffs Craig PC Sales & Service,

LLC; Ray T. Craig, Sr.; and Ray Craig, II. In support thereof, Mr. Bowers would show the

Court as follows:

       1.      Mr. Bowers has left the Firm of Ward & Glass, LLP and no longer serves as

counsel for Plaintiffs.

       2.      Plaintiffs will continue to be represented by the firm of Ward & Glass, LLP

and Burns Law Office.

       3.      This Motion is not made for the purpose of delay, nor will a withdrawal in

any manner prejudice the rights of the Plaintiff or result in any need to request a change of

deadlines in this case.

       4.      Mr. Bowers respectfully requests that the Court enter an Order allowing him

to withdraw as counsel of record for the Plaintiffs. Mr. Bowers ahs submitted an Order

allowing his withdrawal as counsel of record.
          Case 5:17-cv-00003-J Document 260 Filed 09/06/21 Page 2 of 2




Dated this 6th day of September, 2021.

                                                        /s/Barrett T. Bowers
                                                        Barrett T. Bowers, OBA# 30493
                                                        THE BOWERS LAW FIRM
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                                                        Second Floor
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                            CERTIFICATE OF SERVICE

      This is to certify that on this 6th day of September, 2021, a true and correct copy of

the above and foregoing has been served on all counsel of record via the Court’s ECF

system.

                                                        /s/Barrett T. Bowers
                                                        Barrett T. Bowers
